                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

 MARSHA KENNEDY, as Administrator of
 the Estate of Dillon Raymond Teague,

 Plaintiff,

 v.
                                                                      COMPLAINT
 GASTON COUNTY, a North Carolina
 Municipal Corporation; ALAN G.                              (JURY TRIAL REQUESTED)
 CLONINGER, in his official capacity as
 Gaston County Sheriff; CHAD HAWKINS, in
 his official capacity as Gaston County Sheriff;
 BECKY CAUTHRAN, in her official capacity
 as deputy sheriff of Gaston County,

 Defendants.


NOW COMES the Plaintiff, by and through counsel, and says and alleges as follows:

                                             PARTIES

      1. Dillon Raymond Teague died on 3 August 2022.

      2. Marsha Kennedy was appointed Administrator of the Estate of Dillon Raymond Teague by

         the Gaston County Clerk of Court. Marsha Kennedy, as Administrator of the Estate of

         Dillon Raymond Teague, brings this action to recover damages for the personal injuries

         and wrongful death of Dillon Raymond Teague, pursuant to N.C. Gen. Stat. § 28A-18-1

         and N.C. Gen. Stat. § 28A-18-2.

      3. Defendant Alan G. Cloninger (hereinafter “Sheriff Cloninger”) is a citizen of North

         Carolina and resident of Gaston County. This action is brought against Sheriff Cloninger

         in his official capacity for all actions and/or inactions referenced in this complaint that

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   occurred while he served as Gaston County Sheriff.            Upon information and belief,

   Defendant’s address for service of process is P.O. Box 550961, Gastonia, North Carolina

   28055.

4. Defendant Chad Hawkins (hereinafter “Sheriff Hawkins”) is a citizen of North Carolina

   and resident of Gaston County. Sheriff Hawkins is the current sheriff of Gaston County.

   This action is brought against Sheriff Hawkins in his official capacity as Gaston County

   Sheriff. As the successor in interest to the office of Gaston County Sheriff following

   Sheriff Cloninger’s departure, Sheriff Hawkins is liable for all conduct identified in this

   complaint and otherwise as provided by law. Hawkins’ address for service of process is

   425 Dr. Martin Luther King Jr. Way, Gastonia, North Carolina 28052.

5. Defendant Becky Cauthran is a citizen of North Carolina and resides in Gaston County.

   This action is brought against Defendant Cauthran in her official capacity as a Gaston

   County deputy sheriff and jail administrator. Defendant’s address for service of process is

   402 Lakewood Drive, Gastonia North Carolina 28056.

6. At all relevant times herein, Defendant was an agent and/or employee of Defendants

   Cloninger, Hawkins, and/or Gaston County. Defendant Cauthran acted within the course

   and scope of her employment and/or agency. Therefore, her actions, inactions, deeds,

   misdeeds, and negligence is imputed to Defendants Cloninger, Hawkins, and/or Gaston

   County under the law of agency and the doctrines of respondeat superior, ratification

   and/or condonation.

7. Additionally, other deputy sheriffs, jailers, officers, medical staff, and/or other individuals

   unnamed herein and working at the Gaston County jail during the times referenced in this

   complaint, were the actual, apparent and/or ostensible agents of Defendants Cloninger,
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   Hawkins, and/or Gaston County and were acting within the course and scope of their

   employment and/or agency. Therefore, their actions, inactions, deeds, misdeeds, and

   negligence is imputed to Defendants Cloninger, Hawkins, and/or Gaston County under the

   law of agency and the doctrines of respondeat superior, ratification and/or condonation.

8. Defendant Gaston County is a municipal corporation organized and existing under the laws

   of the State of North Carolina. The County’s registered agent for service of process is the

   County Manager, Kim Eagle, who is located at P.O. Box 1578, Gastonia, North Carolina

   28053.

9. At all relevant times herein, the Defendants and/or their respective designees were acting

   under color of law, that is, under the color of the constitution, statutes, laws, rules,

   regulations, customs, and usage of the State of North Carolina.

10. At all relevant times herein, Defendants Cloninger, Hawkins, Cauthran, and Gaston County

   purchased and/or maintained liability insurance, thereby waiving any and all claims to

   sovereign immunity and/or governmental immunity in accordance with North Carolina

   law, including N.C. Gen. Stat. § 153A-435.

                             JURISDICTION AND VENUE

11. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 because Plaintiff’s

   claims, in part, are founded upon the laws of the United States. Furthermore, this Court

   can exercise supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28

   U.S.C.§ 1367.

12. This Court has personal jurisdiction over Defendants because each is a citizen of North

   Carolina and the tortious conduct for which Plaintiff seeks relief occurred in this State.

   This Court can also exercise personal jurisdiction over Defendants in accordance with
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   Federal Rule of Civil Procedure 4(k)(1)(A).

13. Venue is appropriate in the Western District of North Carolina because a substantial part

   of the events giving rise to Plaintiff’s claims occurred in this District.

                                BACKGROUND FACTS

14. The Gaston County Jail opened on November 1, 1999. The jail has over 160,000 square

   feet and has a total bed capacity of 488 with an operating inmate capacity of 440.

15. Despite its operating capacity of 440 inmates, the Gaston County jail routinely kept 650

   inmates on a daily basis.

16. Defendant Gaston County established, acquired, erected, repaired, maintained, and/or

   otherwise operated the Gaston County jail under N.C. Gen. Stat. § 153A-218.

17. Defendant Gaston County is responsible under N.C.G.S. § 153A-224 for ensuring the

   Gaston County jail’s custodial personnel provided continuous supervision to protect

   prisoners from harm and to be informed of the prisoners’ general health and medical needs.

18. Defendant Gaston County was responsible under N.C.G.S. § 153A-225 for developing an

   adequate medical plan to provide medical care to prisoners at the Gaston County jail,

   including medical supervision of prisoners and emergency medical care for prisoners to the

   extent necessary for their health and welfare.

19. The Gaston County jail was equipped with an on-site medical unit, with medical staff

   available 24 hours a day to provide medical care to inmates in the jail.

20. During the year 2022, Defendant Alan Cloninger served as the Gaston County Sheriff,

   having been first elected to that position in 2004.




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21. By virtue of his position, Sheriff Cloninger was under a legal duty to comply with North

   Carolina law in the operation and maintenance of the Gaston County jail, including N.C.

   Gen. Stat. § 162-22 and N.C. Gen. Stat. § 162-24.

22. Under N.C. Gen. Stat. § 162-24, Sheriff Cloninger was under a non-delegable legal duty

   to provide supervision of prisoners to protect their safety, security, health and welfare, and

   to provide medical care to prisoners at the Gaston County jail.

23. Under 42 U.S.C. § 1983, Defendants Gaston County, Sheriff Cloninger, and/or Sheriff

   Hawkins served as the final policymaker for the Gaston County jail, and were charged with

   the task of creating appropriate policy to ensure the systematic and appropriate supervision

   of inmates.

24. Under N.C. Gen. Stat. § 153A-224, Sheriff Cloninger was also under a legal duty to provide

   continuous custodial supervision of all inmates held in the Gaston County jail and to be at

   all times informed of the prisoners’ general health and emergency medical needs. Sheriff

   Cloninger was under a duty to keep each prisoner “protected” while in the Gaston County

   jail.

25. Under N.C. Gen. Stat. § 162-55, Sheriff Cloninger and his employees and/or agents were

   prohibited from “do[ing], or caus[ing] to be done, any wrong or injury to the prisoners

   committed to his custody, contrary to law.”

26. At all relevant times, Defendants knew or should have known that inmates incarcerated at

   the Gaston County jail were at high risk for medical emergencies, including withdrawal,

   overdose, and suicide.

27. In the year 2022, Defendant Cauthran was employed by Defendants Cloninger and/or

   Gaston County and served as administrator of the Gaston County jail.
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28. Upon information and belief, Defendant Cloninger assigned Defendant Cauthran

   supervisory responsibility for the Gaston County jail, making her the “keeper” of the jail

   under N.C.G.S. § 162-22.         Alternatively, Defendant Cauthran assisted Defendant

   Cloninger in operating the jail under N.C.G.S. § 162-24.

29. Under 10A NCAC 14J .0601 of the North Carolina Administrative Code, a jail shall have

   an officer make supervision rounds and observe each inmate at least two times within a 60

   minute time period on an irregular basis and not more than 40 minutes between rounds.

   Supervision rounds shall be conducted 24 hours a day, 7 days per week.

30. Upon information and belief, Defendants did not have a formal jail policy that complied with

   the mandate of 10A NCAC 14J .0601 of the North Carolina Administrative Code.

31. Upon information and belief, Defendants had a custom of failing to refer arrestees in need

   of urgent medical care and attention and to supervise pretrial inmates in accordance with

   the standards of the profession, the North Carolina General Statutes, and the North Carolina

   Administrative Code.

32. Upon information and belief, Defendants also had a custom of failing to provide sufficient

   competency-based training for detention facility officers and other agents in recognizing

   when an inmate required immediate medical intervention.

33. On July 30, 2022, Dillon Raymond Teague (“Mr. Teague”) was placed as a pretrial

   detainee at the Gaston County jail. Mr. Teague was being held on misdemeanor offenses

   and a probation violation.

34. Defendants knew or should have known that Mr. Teague had a medical history consistent

   with heroine addiction and displayed symptoms of withdrawal, thereby necessitating

   constant supervision.
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35. On August 3, 2022 at around 6:00 a.m., Mr. Teague suffered a medical emergency. Mr.

   Teague called for help from deputy jailers, but his calls for assistance were ignored.

36. Around 6:20 a.m., Mr. Teague was lying on the bottom bunk when he stood up and went

   into cardiac arrest.

37. Around 6:54 a.m., Mr. Teague was transported to Caromont Regional Medical Center.

38. At 7:03 a.m., Mr. Teague died. He was 29 years old.

39. After Mr. Teague’s death, an investigation by the North Carolina Division of Health Services

   Regulation found that jail officers were not supervising inmates as required by the North

   Carolina’s Administrative Code, including 10A NCAC 14J .0601.

40. Under the Administrative Code, jail officers are required to check on inmates at least twice

   an hour with no more than 40 minutes between rounds.

41. The Division of Health Services Regulation found that on August 2, 2022, in Mr. Teague’s

   block, guards missed two supervision rounds around noon. At other times that day, guards

   in Mr. Teague’s block did their rounds, but they left inmates alone for more than 40 minutes

   at a time.

42. According to hand-written notes provided by Defendant Cauthran, a review of the applicable

   surveillance video revealed that two supervision rounds were missed on Mr. Teague’s block.

   As a result of these failures, Defendants took disciplinary action of the jailers involved.

43. As part of the investigation by the Division of Health Services Regulation, Defendant

   Cauthran also admitted that inmates in Teague’s section were left alone for more than 40

   minutes at a time. Defendant Cauthran also acknowledged that guards were leaving inmates

   alone for more than 40 minutes at a time. Defendant Cauthran stated that “policy and

   procedure was changed to reflect this rule and jail staff were notified.”
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44. Defendants’ failure to keep continuous custodial supervision of Mr. Teague was a direct

   and proximate cause of Mr. Teague’s death.

45. Other inmates have died as a result of Defendants’ failure to implement a reasonable

   custom, practice, and/or policy regarding inmate supervision and ensure compliance with

   North Carolina’s Administrative Code.

46. On or about August 3, 2022, at or around 6:01 p.m., Keith Elmore was booked into the

   Gaston County jail on misdemeanor charges of assault on a female and communicating

   threats. At 6:40 p.m., Elmore was found in a cell with a sock wrapped around his neck. He

   later died on August 7, 2022.

47. Defendants’ failure to keep continuous custodial supervision of Mr. Elmore was a direct

   and proximate cause of Mr. Elmore’s death.

48. Jordan Moses died on October 7, 2022. Upon information and belief, Defendants’ failure to

   keep continuous custodial supervision of Mr. Moses was a direct and proximate cause of

   Mr. Moses’s death.

49. On or around November 16, 2022, Jason Pettus was an inmate at the Gaston County Jail.

   Jason was being held on charges of possession of stolen property, driving while licensed

   revoked, and misdemeanor larceny. His bond was $1,000.

50. On November 21, 2022, a guard checked on Pettus at 11:48 p.m. At 12:10 a.m. on

   November 22, 2022, Mr. Pettus was found dead, having hung himself with a sheet. Upon

   information and belief, Defendants’ failure to keep continuous custodial supervision of Mr.

   Pettus was a direct and proximate cause of Mr. Pettus’s death.

                           FIRST CLAIM FOR RELIEF
                         Negligence and/or Gross Negligence

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51. Plaintiff incorporates by reference and re-alleges each of the prior allegations as if fully set

   forth herein.

52. N.C. Gen. Stat. § 153A-224 is a safety statute expressly enacted to protect a pre-trial

   detainee like Mr. Teague whose liberty has been taken and who is confined in a local

   detention facility.

53. The Gaston County jail is a local confinement facility for the purposes of N.C. Gen. Stat.

   § 153A-224.

54. By virtue of his status in the Gaston County jail, Defendants owed Mr. Teague a legal

   duty to act reasonably under the circumstances and otherwise as provided by law.

   Defendants breached this duty and acted negligently by:

        a. Failing to keep Mr. Teague under a special watch;

        b. Failing to supervise Mr. Teague;

        c. Failing discover Mr. Teague was suffering from a medical emergency;

        d. Failing to provide appropriate medical treatment;

        e. Failing to timely contact emergency medical services;

        f. Failing to secure emergency medical care from a licensed physician;

        g. Failing to timely transport Mr. Teague to the hospital emergency department after

            it was clear that Mr. Teague was experiencing cardiac arrest;

        h. Violating their affirmative obligation under N.C.G.S. § 153A-224 to provide

            continuous custodial supervision of detainees and to secure emergency medical

            care for Mr. Teague;

        i. Violating North Carolina’s Administrative Code, including 10A NCAC 14J .0601;

        j. Failing to implement a reasonable policy and practice regarding pretrial
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                 confinement, inmate supervision, and/or inmate medical care;

             k. Failing to follow one or more written rules, statutes, regulations, policies, and/or

                 procedures applicable to Defendants and their agents regarding pretrial

                 confinement, inmate supervision, and/or inmate medical care;

             l. Failing to act in accordance with the standards of care for their profession; or

             m. Acting in such other ways as may be demonstrated at trial.

      55. Defendants’ conduct as described herein constituted negligence, gross negligence, and/or

         negligence per se.

56.      As a direct and proximate result of the Defendants’ acts, omissions, negligence and/or gross

         negligence as described herein, Dillon Raymond Teague suffered severe and permanent

         personal injuries, incurred medical expenses, endured much pain and suffering, and

         ultimately died. Decedent’s injuries were a direct and foreseeable result of the Defendants’

         negligence. Plaintiff is entitled to all damages identified by North Carolina’s Wrongful

         Death Act, including:

       a. Expenses for treatment and hospitalization incident to the injury resulting in death;

       b. Compensation for pain and suffering of the decedent;

       c. The reasonable funeral expenses of the decedent; and

       d. The present monetary value of the decedent to the persons entitled to receive the damages

           recovered, including but not limited to compensation for the loss of the reasonably

           expected income of the decedent, services, protection, care and assistance of the

           decedent, society, companionship, comfort, guidance, kindly offices and advice of the

           decedent to the persons entitled to the damages recovered.

      57. Plaintiff has suffered damages in excess of $75,000.00.
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58. Plaintiff is entitled to treble damages as provided by N.C.G.S. § 162-55.

                          SECOND CLAIM FOR RELIEF
                  42 U.S.C. § 1983/Fourteenth Amendment Violation

59. Plaintiff incorporates by reference and relies upon each of the prior allegations as if fully

   set forth herein.

60. Defendants are “persons” and their actions and omissions complained of herein were taken

   under color of state law for purposes of 42 U.S.C. § 1983.

61. The rights of pre-trial detainees and the conduct of Defendants are governed by the due

   process clause of the Fourteenth Amendment, which sets a standard of objective

   reasonableness.

62. The practice in the jail of failing to supervise inmates as required North Carolina’s

   Administrative Code, including 10A NCAC 14J .0601, failing to provide medical attention

   to inmates in medical distress, and/or failing to have a written policy in place to ensure

   compliance with North Carolina law violated the standard of objective reasonableness.

63. Defendants also failed to train detention facility officers and other agents in recognizing

   and properly responding to pre-trial detainees’ medical needs, which also violated the

   standard of objective reasonableness.

64. Further, the specific acts and omissions of Defendants complained of herein were

   objectively unreasonable and violated Mr. Teague’s rights under the Fourteenth

   Amendment, including failing to provide appropriate medical treatment, failing to contact

   emergency medical services, failing to secure emergency medical care from a licensed

   physician, and/or failing to timely transport Mr. Teague to the hospital when he was

   suffering from cardiac arrest.
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65. Further, those same specific acts described herein violated the Fourteenth Amendment

   standard of deliberate indifference. These acts included, but are not limited to, failing to

   appropriately supervise Mr. Teague, failing to provide appropriate medical treatment,

   failing to contact emergency medical services, failing to secure emergency medical care

   from a licensed physician, and/or failing to timely transport Mr. Teague to the hospital

   when he was suffering from cardiac arrest.

66. Further, Mr. Teague was detained under conditions that posed a substantial risk of serious

   harm, and Defendants knew of and disregarded those risks to Mr. Teague’s health and

   safety, including hearing, seeing, and ignoring indicators of cardiac arrest, which violated

   Mr. Teague’s Fourteenth Amendment rights.

67. In addition and/or in the alternative, the actions and omissions of Defendants complained

   of herein showed reckless disregard and open contempt for Mr. Teague’s well-being and

   safety and constituted deliberate indifference. Defendants’ actions and/or omissions

   violated Mr. Teague’s right to substantive due process also protected by the Fourteenth

   Amendment.

68. As a direct and proximate result of the Defendants’ acts and/or omissions as described

   herein, Dillon Raymond Teague suffered severe and permanent personal injuries, incurred

   medical expenses, endured much pain and suffering, and ultimately died. Decedent’s

   injuries were a direct and foreseeable result of the Defendants’ acts and/or omissions.

69. Plaintiff seeks and is entitled to compensatory damages as allowed under 42 U.S.C. § 1983

   and N.C.G.S. § 28A-18-2.

70. Plaintiff has suffered damages in excess of $75,000.00.

71. Plaintiff is entitled to treble damages as provided by N.C.G.S. § 162-55.
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                             THIRD CLAIM FOR RELIEF
                            42 U.S.C. § 1983/Monell Violation

72. Plaintiff incorporates by reference and relies upon each of the prior allegations as if fully

   set forth herein.

73. Defendants were responsible for the formulation and execution of policies regarding the

   conditions of confinement of pre-trial detainees at the Gaston County jail.

74. At all relevant times, Defendants were acting under color of state law, had in effect de facto

   practices and customs that were a direct and proximate cause of the wrongful,

   unconstitutional, and unlawful conduct of officers at the Gaston County jail.

75. Defendants maintained a custom or practice of failing to follow direct observation rules,

   supervision rules, and failing to have adequate staffing at the jail.

76. This custom or practice is evidenced by some of the examples provided herein and the

   deaths of four inmates within a four-month period of time. These four deaths were a direct

   and proximate result of Defendants’ failure to properly supervise inmates in the Gaston

   County jail, failure to ensure compliance with the standards of the profession, failure to

   provide medical attention to those requiring urgent assistance, failing to adequately staff the

   Gaston County jail, and failing to adequately train staff at the Gaston County jail.

77. Defendants’ custodial staff acted in an overtly reckless manner to suggest that Defendants

   maintained a custom and practice of deliberate indifference.

78. As a direct and proximate result of said practices and customs, Mr. Teague was denied

   his rights under the Fourteenth Amendment.

79. As a direct and proximate result of the Defendants’ acts and/or omissions as described

   herein, Dillon Raymond Teague suffered severe and permanent personal injuries, incurred

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       medical expenses, endured much pain and suffering, and ultimately died. Decedent’s

       injuries were a direct and foreseeable result of the Defendants’ acts and/or omissions.

   80. Plaintiff seeks and is entitled to compensatory damages as allowed under 42 U.S.C. § 1983

       and N.C.G.S. § 28A-18-2.

   81. Plaintiff has suffered damages in excess of $75,000.00.

   82. Plaintiff is entitled to treble damages as provided by N.C.G.S. § 162-55.

WHEREFORE, Plaintiff demands judgment, jointly and severally, of and from the Defendants

as follows:

   1. For compensatory damages in excess of $75,000.00 as to each claim for relief;

   2. For treble damages in accordance with N.C.G.S. § 162-55;

   3. For a trial by jury on all the issues;

   4. For all costs incurred including a reasonable attorneys fee as provided by law, including

       42 U.S.C. § 1988;

   5. For judgment interest at the legal rate;

   6. For such other and further relief as the Court deems just and proper.

This is the 2nd day of August 2024.

                                               /s/ Thomas D. Bumgardner_______________
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